Case 2:15-cv-03813-MWF-PJW Document 232 Filed 11/15/17 Page 1 of 3 Page ID #:5745


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     8                        UNITED STATES DISTRICT COURT
     9
                            CENTRAL DISTRICT OF CALIFORNIA
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    11   FRANCISCA GUILLEN, an                      )   CASE NO.: CV 15-3813-MWF(PJWx)
         individual, on behalf of herself and all   )
    12                                              )   The Honorable Michael W. Fitzgerald,
         others similarly situated,                 )   United States District Judge
    13                                              )
                      Plaintiffs,                   )
    14                                              )   JUDGMENT AFTER TRIAL
                                                    )
    15   vs.                                        )
                                                    )
    16                                              )
         DOLLAR TREE STORES, INC., a                )
    17   Virginia Corporation                       )
                                                    )
    18                                              )
                      Defendant.                    )
    19                                              )
    20         This action came on regularly for jury trial between November 2, 2017, and
    21   November 7, 2017, in Courtroom 5A of this United States District Court.
    22   Plaintiffs were Francisca Guillen, on behalf of herself and a certified Class of all
    23   others similarly situated. Plaintiffs were represented by Matthew J. Matern, Esq.,
    24   Mikael H. Stahle, Esq., and Joshua D. Boxer, Esq., of Matern Law Group, PC.
    25   Defendant Dollar Tree Stores, Inc. was represented by Lindbergh Porter, Esq., of
    26   Littler Mendelson, P.C., and Elena R. Baca, Esq., and Ryan D. Derry, Esq., of Paul
    27   Hastings LLP.
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                                      JUDGMENT AFTER TRIAL
Case 2:15-cv-03813-MWF-PJW Document 232 Filed 11/15/17 Page 2 of 3 Page ID #:5746


     1         A jury of eight persons was regularly empaneled and sworn. One juror was
     2   excused with the consent of the parties. Witnesses were sworn and testified and
     3   exhibits were admitted into evidence. After hearing the evidence and arguments of
     4   counsel, seven members of the jury were duly instructed by the Court and the
     5   cause was submitted to the jury. The jury deliberated and thereafter returned a
     6   special verdict as follows:
     7         Question 1
     8         Did Francisca Guillen and the Class not retain easy access to their electronic
     9   wage statements?
    10

    11                ________ YES                  X NO
                                                ________
    12         If you answered “YES” to Question 1, please proceed to Question 2. If you
    13   answered “NO” to Question 1, please [have your foreperson sign and return the
    14   verdict form].
    15         Now, therefore, pursuant to Rules 54 and 58 of the Federal Rules of Civil
    16   Procedure, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
    17   final judgment in this action be entered as follows:
    18         1.   As to the Claim for Relief for violation of California Labor Code
    19              section 226, judgment is entered in favor of Defendant Dollar Tree
    20              Stores, Inc., and against Plaintiff Francisca Guillen and each member of
    21              the Class.
    22         2.   Plaintiff Francisca Guillen and the Class shall take nothing on their
    23              claim by their Complaint.
    24         3.   Pursuant to Federal Rule of Civil Procedure 23(c)(3)(B), the Court
    25              hereby describes the members of the Class to whom the Federal Rule of
    26              Civil Procedure 23(c)(2) notice was directed and who did not request
    27              exclusion. The Class as certified is defined as:
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                                       JUDGMENT AFTER TRIAL
Case 2:15-cv-03813-MWF-PJW Document 232 Filed 11/15/17 Page 3 of 3 Page ID #:5747


     1                 “All persons employed in one or more of Dollar Tree’s retail
     2                 stores in California at any time on or after April 2, 2014, who
     3                 received their wages via direct deposit or Pay Card and who have
     4                 not entered into an arbitration agreement with Dollar Tree.”
     5

     6            Excluded from this definition are all Class Members who requested
     7            exclusion and the portions of certain Class Members’ claims that were
     8            released by the settlement in Stafford v. Dollar Tree Stores, Solano
     9            County Superior Court Case No. FCS043461.
    10       4.   As the prevailing party, Defendant Dollar Tree Stores, Inc. is to recover
    11            from Plaintiff Francisca Guillen its costs of suit as provided by law.
    12       5.   Now that the matter has been tried to conclusion, the website
    13            established to provide notice (www.DTclassaction.com) should be
    14            removed from the Internet within 7 days.
    15

    16
             Dated: November 15, 2017.

    17                                        _______________________________
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                                                   MICHAEL W. FITZGERALD
                                                    United States District Judge
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                                   JUDGMENT AFTER TRIAL
